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JAMI REBSOM

Jami Rebsom Law Firm PLLC
P.O. Box 670

Livingston, MT 59047
Telephone: 406/222-5963
ATTORNEY FOR DEFENDANT

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF WYOMING YELLOWSTONE

NATIONAL PARK

UNITED STATES OF AMERICA, ) Cause No. 2:11M2105-001
)
)

Plaintiff, ) MOTION TO STAY SENTENCE

vs. )
)
JACK KANE PARRENT JR., )
Defendant }

 

 

COMES NOW, Jami Rebsom, attorney for the above-named defendant, and moves

the Court for an staying his sentence pending appeal in this matter.
ARGUMENT

Rule 38. Stay of Execution, and Relief Pending Review allows the court to stay Mr.
Parrent’s sentence pursuant to the following rule.

Rule 38(a) Stay of Execution(2) Imprisonment. A sentence of imprisonment shall be
stayed if an appeal is taken and the defendant is released pending disposition of appeal pursuant to
Rule 9(b) of the Federal Rules of Appellate Procedure. If not stayed, the court may recommend to

the Attorney General that the defendant be retained at, or transferred to, a place of confinement near

 
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the place of trial or the place where an appeal is to be heard, for a period reasonably necessary to
permit the defendant to assist in the preparation of an appeal to the court of appeals. (3) Fine. A
sentence to pay a fine or a fine and costs, if an appeal is taken, may be stayed by the district court or
by the court of appeals upon such terms as the court deems proper. The court may require the
defendant pending appeal to deposit the whole or any part of the fine and costs in the registry of the
district court, or to give bond for the payment thereof, or to submit to an examination of assets, and
it may make any appropriate order to restrain the defendant from dissipating such defendant's
assets.

Mr. Parrent has been on pre-trial probation supervision and has not had any

violations. ‘Therefore, Mr. Parrent requests the Court stay the sentence pending an appeal in this

 

case.
Al Dan
| DATED tris A. day of December, 20/4

By Ah Ne

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| JAM] I'REBSOM

| CERTIFICATE OF SERVICE
|

i ; I hereby certify that | served a full, true and accurate copy of the foregoing document
on the —Waay of Deeember® 20 ifFio the following named person:

| Sawoory

P.O. Box 703
| Yellowstone National Park 82190

\ Hand delivered

| Lee Pico

 

  

 
